       Case No. 1:20-cr-00036-WJM Document 327 filed 08/09/21 USDC Colorado pg 1 of 1


2 AO 245A (Rev. 12/03) Judgment of Acquittal


                                     UNITED STATES DISTRICT COURT
                                                      DISTRICT OF              COLORADO

          UNITED STATES OF AMERICA
                                                              JUDGMENT OF ACQUITTAL
                              V.

                    WESLEY PAPPAS
                                                              CASE NUMBER: 20-cr-036-WJM-5




       The Defendant was found not guilty. IT IS ORDERED that the Defendant is acquitted, discharged,
and any bond exonerated.




Signature of Judge

  William J. Martinez, United States District Judge
Name of Judge                      Title of Judge

                          August 9, 2021
                               Date
